
201 Md. 655 (1952)
92 A.2d 754
DODSON
v.
WARDEN OF MARYLAND HOUSE OF CORRECTION
[H.C. No. 20, October Term, 1952.]
Court of Appeals of Maryland.
Decided December 5, 1952.
Before MARKELL, C.J., and DELAPLAINE, COLLINS and HENDERSON, JJ.
DELAPLAINE, J., delivered the opinion of the Court.
Earl Dodson, who was convicted in the Criminal Court of Baltimore on the charge of robbery with a deadly weapon and was sentenced to the Maryland House of Correction for four years, is applying here for leave to appeal from refusal of a writ of habeas corpus.
He alleges that the police searched his home without a warrant and also searched him and took his watch and money from him and used them as evidence against him. He contends that he was convicted on evidence obtained by unlawful search and seizure.
*656 The alleged unlawful search and seizure without a warrant would not entitle petitioner to be released on habeas corpus. State ex rel. Cullings v. Warden of Baltimore City Jail, 198 Md. 670, 81 A.2d 645; Bowen v. Warden of Maryland House of Correction, 200 Md. 661, 90 A.2d 174; Barr v. Warden of Maryland House of Correction, 200 Md. 657, 90 A.2d 216.
Application denied, with costs.
